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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              Case No: 0:21-cv-02456-PJS-LIB
                                      §
vs.                                   §              PATENT CASE
                                      §
NONIN MEDICAL, INC.,                  §
                                      §
      Defendant.                      §
_____________________________________ §

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Nonin Medical,

Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.



Dated: January 20, 2022.                     Respectfully submitted,



                                              Eric J. Strobel
                                             Eric J. Strobel, Director
                                             Strobel Consulting Services, LLC
                                             651.338.7044
                                             eric@strobelconsulting.net

                                             ATTORNEYS FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on January 20, 2022. Parties may
access the foregoing through the Court’s system.


                                         Eric J. Strobel
                                         Eric J. Strobel




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